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15


16                               UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18
     NELIDA VIN, on behalf of         herself and   CASE NO. CV 07-3564 CAS (FMOx)
19 all others similarly situated
20 Plaintiff,v.
                                                    (CLASS ACTION)
                                                    (Related to Alloway v. Reliastar Life
                                                    Ins. Co., et a/., CV 06-4719 CAS
21
                                                    (FMOx))
22 THE PRUDENTIAL INSURANCE
23 COMPANY OF AMRICA and DEN-                       JOINT STATUS REPORT AND
    MAT CORPORATION LONG TERM                       STIPULATION TO CONTINUE
24 DISABILITY FOR ALL EMPLOYEES,                    SCHEDULING CONFERENCE
25                 Defendants.
                                                    SchedulIm!: Conference
26
                                                    January 26, 2008
27                                                  Time. 11:00 a.m.
28
                                                    Courtroom: 5, Second Floor
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                                                            JOINT STATUS REPORT
 2
                   Plaintiff, NELIDA VIND, on behalf of                                     herself and all others similarly situated,
 3
       and Defendants, THE PRUDENTIAL INSURCE COMPANY OF AMRICA
 4
    and DEN-MAT CORPORATION LONG TERM DISABILITY FOR ALL
 5 EMPLOYEES, respectfully submit this Joint status report and stipulation to continue
 6 the scheduling conference.

 7 At the scheduling conference on October 20,2008, the Court continued the

 8 conference to January 26,2009, to permit the parties to proceed with voluntary
 9 production and review of a sampling of claims files. The parties have diligently
10 proceeded but have not as yet completed this voluntary discovery process. Plaintiff
11 has randomly selected 48 files for production and review Defendants have
12 commenced the review of the first 24 of these files and anticipate commencing the
13 rolling production thereof imminently. After Plaintiff s review of the first 24 files,
14 the parties have agreed to meet and confer concerning production of
                                                                                                                    the additional
15 requested files. The parties request a continuance of the scheduling conference to

16 complete the foregoing voluntary discovery process, in accordance with the
17 stipulation set forth below.
18

19
                                                                         STIPULATION
20
                   IT IS THEREFORE S TIPULA TED by and between the parties, through their
21
       respective counsel of record, as follows:
22

23 1.              Defendants shall review and produce to Plaintiff all, or substantially all, of the
24
                   first 24 files selected by Plaintiff, no later than January 30, 2009 If any of                                 the
25
                   selected files are "ASO" claims, (i.e., claims under self-insured plans),
26
                   Defendants shall review and produce the next selected file. The files shall be
27
                   produced in an electronic format, subject to Plaintiff s right to receive a hard
28
                   paper copy of any documents which are illegible in the electronic format.
                                                                                      2
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          Defendants may withhold from production those portions of the claims files
 2
          which are not directly relevant to the calculation of the amount of benefits and
 3
          offsets to benefits, including purely medical information. Production of any
 4
          documents by Defendants shall not be an admission of relevance or
 5
          admissibility. Defendants may redact all personal identifying information from
 6
          the claims files prior to production, but the files will be identified by claim file
 7
          number or some other unique number permitting identification. Plaintiff
 8
          reserves the right to seek discovery of those portions of said files which are
 9
          wIthheld or redacted.
10

11
     2.   Plaintiff shall review the foregoing claims by February 13,2009. Upon
12
          completion of Plaintiff s review, the parties will meet and confer concerning
13
          production of additional claims files. If the parties cannot reach an agreement
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          in this regard, the parties agree to submit the issue to the assigned magistrate
15
          for determination. Without affecting the parties' obligation to meet and confer
16
          in good faith in this regard, the parties agree that said issue can be submitted to
17
          the magistrate for determination pnor to the continued scheduling conference
18
          proposed by this stipulation.
19

20
     3.   In event that it comes to attention of either party that documents or portions of
21
          documents have been inadvertently produced, (e.g., incorrect claim number,
22
          attorney-client communications, etc.), including documents or portions of
23
          documents containing unredacted personal identifying information of
24
          claimants, that party shall immediately inform the other, and Plaintiffs shall,
25
          upon request, return all copies of such documents to Defendants. Defendants
26
          may then either withhold such documents, or produce them in redacted form,
27
          as they deem appropriate. Plaintiff reserves the right to seek to compel
28
          discovery of those portions of said files which are withheld or redacted.
                                                3
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         4.    A continued scheduling conference shall be conducted on March 23, 2009 at
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               11 :00 a.m., or as soon thereafter as the Court's calendar permits. The parties
     3
               will complete the conference of counsel no later than 14 days before said
     4
               continued scheduling conference and shall file their joint report no later than 7
     5
               days before said continued scheduling conference.
     6


     7
         IT is SO STIPULATED:
     8
         Dated: January 12, 2009                GIANELLI & MORRIS
     9                                          ERNST & MATTISON
 10


 II
                                               /s/ Chnstopher D. Edgington
                                               By: Christopher D. Edgington
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                                               Attorneys for Plainti ff
 13


 14 Dated: January 12, 2009                    MORGAN, LEWIS & BOCKIUS LLP
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                                               By: Chri topher M. Ahearn

18                                             Attorneys for Defendants
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